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                                    United States District Court
                                         District of Maine

 Bayley’s Campground, Inc., d/b/a Bayley’s
 Camping Resort; FKT Resort
 Management, LLC; FKT Bayley Limited
 Partnership; DMJ Parks, LLC, d/b/a Little
 Ossipee Campground, LLC; Curtis Bonnell
 of Salem, NH; Dolores Humiston of                   Civil Action No. 2:20-cv-176-LEW
 Meredith, NH; James Boisvert of
 Scarborough, ME,

                Plaintiffs

 v.

 Janet T. Mills, in her official capacity as
 the Governor of the State of Maine

                Defendants

                         DECLARATION OF KEITH P. RICHARD, ESQ.

       Pursuant to 28 U.S.C. § 1746, the undersigned, KEITH P. RICHARD, makes the

following declaration under penalty of perjury under the laws of the United States of

America, that facts contained herein are true and correct based upon my personal

knowledge.

       1.      My name is Keith P. Richard. I am an associate attorney with the law firm

Libby O’Brien Kingsley & Champion, LLC.

       2.      Attached hereto as Exhibit 1 is a true and accurate copy of Executive Order

19 FY 19/20.

       3.      Attached hereto as Exhibit 2 is a true and accurate copy of Executive Order

34 FY 19/20.

       4.      Attached hereto as Exhibit 3 is a true and accurate copy of Executive Order

49 FY 19/20.
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       5.      Attached hereto as Exhibit 4 is a true and accurate copy of the May 14, 2020

version of the Restarting Plan.

       6.      Attached hereto as Exhibit 5 is the Maine CDC’s 2019 Coronavirus (COVID-

19) Frequently Asked Questions.

       7.      I have personally watched several videoconferences in which Commissioner

Heather Johnson has discussed the Executive Orders and Restarting Plan. My understanding

of her statements of interpretative guidance are as follows:

            a. The 14-day quarantine requirement is interpreted strictly.

            b. Quarantine requires the individual to remain at home, to refrain from leaving

               home to gather necessary such as groceries, not interact with others, and

               precludes, among other activities, engaging in commerce.

            c. The requirement applies to all border crossings, including de minimis

               crossings by Mainers in “border towns” that cross back and forth daily for

               work, activities, and to engage in commerce.

            d. For example, an individual that crosses from Maine into New Hampshire to

               visit a business there, and immediately returns to Maine must self-quarantine

               upon return.

            e. Commissioner       Johnson   has   alluded   to   alternatives   to     quarantine

               requirements, including testing, although to date none have materialized.

       8.      Upon information and belief, including my review of publicly available

information on New Hampshire’s website, New Hampshire does not have a requirement that

travelers to New Hampshire must self-quarantine.
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       9.        I have reviewed the website for the Maine Centers for Disease Control, which

indicates that Maine has met the criteria for a moderate level of community transmission of

COVID-19. As of May 15, 2020, Maine CDC reported 1,603 total cases of COVID-19 in Maine,

which includes 798 cases in Cumberland County, and 281 cases in York County.

       10.       As of May 13, Maine CDC has conducted 33,035 tests.

       11.       I have observed numerous press conferences organized by the Maine CDC

concerning COVID-19. In those press conferences, it is frequently emphasized that the

numbers reported by Maine CDC is likely an underrepresentation of the total number of

cases in Maine.

       12.       The following is an excerpt from Maine CDC’s website on May 15, 2020:

       On March 25, 2020, Maine met U.S. CDC’s criteria for a Moderate level of community
       transmission for coronavirus disease 2019 (COVID-19). Maine's testing capacity is
       inhibited by the limited national supply of laboratory materials. Therefore, consistent
       with U.S. CDC guidelines, Maine is now creating a prioritization system to test
       individuals in high-risk categories.

       To preserve Maine’s specimen collection and testing supplies for patients who may
       develop severe COVID-19 illness over the coming months, effective immediately, Maine
       Health and Environmental Testing Laboratory (HETL) will prioritize testing to high-
       risk individuals and will only accept specimens for testing
       from symptomatic individuals who have fever or respiratory symptoms and who fall
       into one of the following high-risk categories:

       Tier 1:
             •   Those who are hospitalized
             •   Health care workers
             •   First responders (e.g., EMS Police, Fire)
             •   Patients living in congregate setting (e.g., LTCFs, group homes, assisted living
                 facilities, jails, shelters)
       Tier 2:
             •   Patients older than 60 years
             •   Patients with underlying medical conditions

       Available at https://www.maine.gov/dhhs/mecdc/infectious-

       disease/epi/airborne/coronavirus.shtml
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       Pursuant to 28 U.S.C. § 1746, I declare under penalties of perjury under the laws of

the United States of America that the foregoing declaration is true and correct to the best of

my knowledge and belief and that such facts are made based on my personal knowledge.


Dated: May 15, 2020                               /s/ Keith P. Richard
                                                  Keith P. Richard, Esq.
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                                                                                    19 FY 19/20
       OFFICE OF                                                            NO
                                                                                 · March 24, 202•----
       THE GOVERNOR                                                         DATE ________


        AN ORDER REGARDING ESSENTIAL BUSINESSES AND OPERA TIONS

WHEREAS, I proclaimed a state ofemergency on March 15, 2020 to authorize the use ofemergency
powers in order to expand and expedite the State's response to the serious health and safety risks of
COVID-19; and

WHEREAS, Executive Order No. 14 FY 19/20 dated March 18, 2020 restricted certain social
gatherings and certain use ofrestaurants and bars, and strongly recommended use ofsocial distancing
to reduce the transmission ofCOVID-19, which is highly contagious; and
WHEREAS, the Maine Center for Disease Control and Prevention advises that additional social
distancing measures are warranted to slow the spread of this life-threatening virus in order to save
lives and improve the ability of the health care system to respond; and
WHEREAS, a governor's emergency powers expressly include the authorities to:
         a.    Control the movement of persons and occupancy of premises within the State
               pursuant to 37-B M.R.S. §742(1)(C)(8);
         b.    Enlist the aid of any person to assist in the effort to control the emergency and aid in
               the caring for the safety of persons pursuant to 37-B M.R.S. §742(1)(C)(5) and 37-B
               M.R.S. §827;
         c.    Utilize all available resources of the State as reasonably necessary to cope with the
               emergency pursuant to 37-B M.R.S. §742(1)(C)(2); and
         d.    Take whatever action is necessary to mitigate a danger that may exist within the State
               pursuant to 37-B M.R.S. §742(1)(C )(12);
NOW, THEREFORE, I, Janet T. Mills, Governor of the State ofMaine, pursuant to 37-B M.R.S.
Ch. 13, including but not limited to the provisions referenced above, do hereby Order as follows:

I.       EFFECTIVE DATE

This Order takes effect at 12:01 AM on March 25, 2020 and terminates at 12:00 AM on April 8,
2020 unless amended, rescinded or renewed.



                                                   1


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                                                                              34 FY 19/20
                                                                          NO.---------
    OFFICE OF
    THE GOVERNOR                                                          DATE   April 3, 2020

   AN ORDER ESTABLISHING QUARANTINE RESTRICTIONS ON TRAVELERS
                        ARRIVING IN MAINE


WHEREAS, I proclaimed a state of emergency on March 15, 2020 to authorize the use of
emergency powers in order to expand and expedite the State's response to the serious health and
safety risks ofthe highly contagious COVID-19; and
WHEREAS, Executive Order No. 14 FY 19/20 dated March 18, 2020 restricted certain social
gatherings and certain use of restaurants and bars, and prohibited gatherings of more than ten
people to reduce the transmission ofCOVID-19; and
WHEREAS, because of unhealthy crowds, the Maine Department of Agriculture, Conservation
and Forestry has closed many state-owned beaches and other public venues; and
WHEREAS, many Maine residents and property owners are returning to Maine as the weather
warms; and
WHEREAS, aggressive and sustained efforts are necessary to slow the spread ofthe COVID-19
virus and lessen the strain on Maine's health care system as the COVID-19 virus continues to
spread and threatens to overwhelm the State's ability to respond; and
WHEREAS, due to extensive community transmission of COVID-19 in the states ofNew York,
New Jersey and Connecticut, the U.S. Centers for Disease Control and prevention ("USCDC"), on
March 28, 2020 advised residents ofthose states to refrain from non-essential domestic travel for
14 days, and the President of the United States and his Coronavirus Task Force have issued an
advisory to limit travel between and among certain states, and several states have begun to impose
quarantine and lodging restrictions in order to dissuade and limit such travel; and
WHEREAS, on March 31, 2020, I issued Executive Order 28 FY 19/20 directing all people to
stay at home or their place ofresidence, leaving only for specified essential reasons; and
WHEREAS, Executive Order 19 FY 19/20, dated March 24, 2020, ordered the closure of for­
profit, non-profit, and other entities, with an exception for Essential Businesses and Operations,
including, inter alia, hotel and commercial lodging; and
WHEREAS, I have determined, in light ofthe significant risk posed by the further spread ofthis
dangerous disease to the people ofthis State and to the viability ofour health care system, there is

                                                 1


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a need to direct residents and non-residents alike traveling from outside the State to self-monitor
and home quarantine for a period of 14 days, and to restrict the operation ofhotels and lodging to
further effectuate that purpose; and
WHEREAS, a governor's emergency powers expressly include the authorities to:
       a.      Control the ingress and egress of persons and occupancy of premises within the
               State pursuant to 37-B M.R.S. §742(1)(C)(8);
       b.      Control the movement of persons and occupancy of premises within the State
               pursuant to 37-B M.R.S. §742(1)(C)(8);
       c.      Enlist the aid of any person to assist in the effort to control the emergency and aid
               in the caring for the safety of persons pursuant to 37-B M.R.S. §742(1)(C)(5) and
               37-B M.R.S. §827;
       d.      Utilize all available resources ofthe State as reasonably necessary to cope with the
               emergency pursuant to 37-B M.R.S. §742(1)(C)(2); and
       e.      Take whatever action is necessary to mitigate a danger that may exist within the
               State pursuant to 37-B M.R.S. §742(l)(C)(l2);
NOW, THEREFORE, I, Janet T. Mills, Governor ofthe State ofMaine, pursuant to 37-B M.R.S.
Ch. 13, including but not limited to the provisions referenced above, do hereby Order as follows:
I.     ORDERS
       1. To preserve the public health and safety, to ensure the public health and health delivery
system are capable of serving all, and to help protect those at the highest risk and vulnerability,
any person, resident or non-resident, traveling into Maine must immediately self-quarantine for 14
days or for the balance of 14 days dating from the day of arrival, except when engaging in essential
services as defined in Executive Order 19FY 19/20.
        2. The Department ofTransportation and the Maine Turnpike Authority are hereby directed
to post a summary of this Order at all major points ofentry into Maine and on highway message
boards. The Portland Jetport, the Bangor International Airport and all other Maine airports, all bus
stations and passenger train stations are also directed to post the substance of this Order.
      3. Guidance for self-quarantine may be made available by the Maine Center for Disease
Control and Prevention.
        4. Visitors are instructed not to travel to Maine ifthey are displaying symptoms ofCOVID-
19, and are advised not to travel to Maine if they are travelling from cities and regions identified
as COVID-19 "hot spots," including, among others, the cities of Detroit, Chicago and New York
City. In addition, residents ofthe States ofNew York, New Jersey and Connecticut should refrain
from travel to Maine in strict compliance with USCDC travel guidance issued Saturday, March
28, 2020 and any subsequent travel guidance that may be issued during the pendency ofthis Order.



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        5. For the purpose ofclarifying Essential Services as defined in 19FY 19/20, effective April
5, 2020 at 12:00 noon, all lodging operations and accommodations shall close except to the extent
ofproviding lodging for the purposes stated below. Lodging operations and accommodations are
defined to include, but not limited to, hotels, motels, bed and breakfasts, inns, short term rentals,
such as those made available through VRBO, Homeaway, AirBnb and other services, parks for
recreational vehicles and campgrounds, and all public and private camping facilities. Lodging may
be provided only for the following purposes:
           a. Housing vulnerable populations, including children in emergency placements,
              persons at risk ofdomestic violence, and homeless individuals as permitted by the
              State.
           b. Providing accommodations for health care workers, or other workers deemed
              necessary to support public health, public safety or critical infrastructure.
           c. Use oflodging properties as self-quarantine or self-isolation facilities as arranged
              by the State.
           d. Limited verifiable extenuating circumstances for the care and safety ofresidents as
              otherwise approved by the State.
On-line reservations shall be suspended, and lodging providers shall post a prominent notice on
their web platforms to advise potential guests that reservations for lodging in Maine, as allowed
above, shall be accepted by phone only.
Lodging providers may permit existing guests to remain through the end oftheir scheduled stay
but may not allow stay extensions or new reservations, except for the purposes set forth above.
       6. All state agencies and departments, including the offices of elected officials in the
Executive Branch, which register, regulate or license lodging facilities, shall provide an electronic
advisory regarding the suspension oflodging operations, consistent with this Executive Order.
II.    IMPLEMENTATION
This Order is subject to amendment and additional guidance as necessary.
III.   ENFORCEMENT
Pursuant to 37-B M.R.S. sec. 786, this Order shall be enforced by law enforcement, as necessary,
including through means ofcommunity policing. A violation ofthis Order may be charged as a
Class E crime subject to a penalty ofup to six months in jail and a $1,000 fine. In addition, this
Order may be enforced by any governmental department or official that regulates, licenses, permits
or any otherwise authorizes the operation or occupancy ofbuildings, parks and campgrounds. A
violation ofthis Order may be construed to be a violation of any such license, permit or other
authorization to which pertinent penalties may be assessed.




                                                  3


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IV.    EFFECTIVEDATE
Except as otherwise set forth herein, this Executive Order shall take effect upon signing and shall
continue in full force and effect until at least April 30, 2020, at which time the Governor, in
consultation with the Maine Department of Health and Human Services, the Maine Center for
Disease Control and Prevention, the Department of Public Safety, and the Maine Emergency
Management Agency, shall assess the emergency and determine whether to amend or extend this
Order.




                                                     clT.Mills
                                                 .
                                                 ����
                                                     Governor




                                                 4


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 Oflice of                                                          No.        49 FY 19/20
 The Governor                                                        DATE      April 29, 2020


                         AN ORDER TO STAY SAFER AT HOME

WHEREAS, I proclaimed a state of emergency on March 15, 2020 and a renewed state of
emergency on April 14, 2020 to authorize the use of emergency powers in order to expand and
expedite the State's response to the serious health and safety risks of the highly contagious COVID-
19; and

WHEREAS, between March 18th and April 3rd I issued Executive Orders 14, 19, 28 and 34 FY
19/20 that, for the reasons and upon the authorities stated therein, imposed until April 30th certain
emergency rules and limitations necessary to respond to COVID-19; and

WHEREAS, it is necessary to extend the effective dates of those Orders to continue to protect
public health while, at the same time, implementing the Together We Are Maine: Restarting
Maine's Economy Plan (hereinafter Restarting Plan), as the deliberative process to identify how
certain restrictions on businesses and activities can be safely and incrementally eased over time;

NOW, THEREFORE, I, Janet T. Mills, Governor of the State of Maine, pursuant to 37-B M.R.S.
Ch. 13, including but not limited to the authorities cited in the Proclamations and Orders referenced
above, do hereby Order as follows:

I.      PURPOSE

The purposes of this Order are to continue to prioritize protection of public health and safety by
keeping certain existing public safety measures for business and personal activities in effect
through May 31, 2020 and to implement the Restarting Plan to assess how certain restrictions may,
consistent with expert public health guidance, be safely eased to permit more economic and
personal activity.




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II.    CONTINUED PRIORITY OF PUBLIC HEALTH

Protection of public health and our health care delivery system shall remain the first priority. The
Commissioner of the Department of Health and Human Services (DHHS) and the Director of the
Maine Center for Disease Control and Prevention (CDC) shall continue to advise on COVID-19
trends and metrics to guide the timing, pace and scope of any easing of current restrictions. Maine
CDC currently tracks, subject to change, three primary metrics:

       A.      a downward trajectory of reported influenza-like illnesses and COVID-like
               syndromic cases;

       B.      a downward trajectory of documented cases and newly hospitalized patients; and

       C.      the capacity of Maine's hospital systems to treat all patients without crisis care and
               the ability of the State to engage in a robust testing program.

III.   EXISTING EXECUTIVE ORDERS EXTENDED

To continue to protect public health, the effective dates of Executive Orders 14, 19, 28 and 34 FY
19/20 are hereby extended through May 31, 2020 unless sooner amended. All other provisions of
such Orders remain in effect and subject to interpretive guidance. Such guidance includes, but is
not limited to, the implementation of the Restarting Plan, incorporated into this Order by this
reference.

IV.    STAGES OF THE RESTARTING PLAN

Starting May 1, 2020, and consistent with Maine CDC/DHHS tracking metrics and
recommendations, the Commissioner of the Department of Economic and Community
Development (DECD) shall implement the Restarting Plan and identify businesses and activities
where current restrictions may be adjusted to safely allow for more economic and personal activity.
Businesses and activities so identified may receive a conditional approval consistent with the
Restarting Plan. Any such approval is subject to change depending upon the demonstrated efficacy
of the conditions imposed or the changing or general needs of public health. Any such approval is
also subject to suspension or revocation depending upon actual and consistent compliance with
such conditions. DHHS shall issue guidance for DECD and others on the process for health
services identified in the Restarting Plan.

V.     CLOTH FACE COVERINGS

Consistent with guidance from the United States Centers for Disease Control and Prevention
individuals must wear cloth face coverings in public settings where other physical distancing
measures are difficult to maintain.

       A.      Definitions. For purposes of this section, the following terms have the following
               meanings.



                                                 2


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           1.     "Public settings" mean:

                  a.      indoor spaces that are accessible to the public such as grocery stores,
                          retail stores, pharmacies and health care facilities;

                  b.      outdoor spaces such as playgrounds, busy parking lots, and other
                          areas such as lines for take-out service where the public typically
                          gathers in a smaller area; and

                  c.      public transportation such as a taxi, Uber, Lyft, ride-sharing or
                          similar service; ferry, bus, or train; and any semi-enclosed transit
                          stop or waiting area.

                  Employers in settings that are not typically accessible to the public may
                  determine the persons who should wear a cloth face covering at their
                  workplace and shall permit any employee who wants to wear a covering to
                  do so.

           2.     "Individual" means any person in such settings irrespective of whether the
                  person is an employee, customer, vendor, invitee or other.

           3.     "Cloth Face Covering" is a protection that covers the nose and mouth; fits
                  snugly but comfortably against the side of the face; is secured with ties or
                  ear loops; has multiple layers of fabric; allows for breathing without
                  restriction; and is able to be laundered and machine dried without damage
                  or change to its shape.

     B.    Exceptions. Cloth face coverings are not required for children under age 2, a child
           in a child care setting, or for anyone who has trouble breathing or related medical
           conditions, or who is otherwise unable to remove the mask without assistance. A
           person who cannot wear a cloth face covering because of a medical condition is not
           required to produce medical documentation of the condition, provided that an
           employer may require such documentation from an employee in accordance with
           state and federal law.

     C.    Other. Cloth face coverings are not a replacement for adhering to social distancing
           protocols. As recommended by current CDC guidance, surgical masks and N-95
           respirators are critical supplies that will remain be reserved for health care workers,
           medical first responders, and other workers as recommended by Federal guidance.




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VI.    EFFECTIVE DATE

This Order takes effect on April 29, 2020, with section V taking effect on May 1, 2020.




                                         /.Jif11et T. Mills
                                         �-
                                           Governor




                                                4


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  RESTARTING MAINE’S ECONOMY
                   GOVERNOR JANET MILLS MAY 2020
                                                  EXHIBIT 4 TO KPR DEC.
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       RESTARTING MAINE’S ECONOMY




A MESSAGE FROM GOVERNOR JANET MILLS
Time and again, Maine people have risen to the challenges put in front of us.
We have survived blizzards, ice storms, depressions, booms and busts. We’ve
suffered loss — as a state and as families. We have conquered them because
we are a strong, resilient people – borne of the western foothills; the northern
potato fields; the bold, rocky coasts; and the tall, pine forests. We have been lifted
up by the courage, conviction and resilience that comes from loving a place and
its people. Let us continue to prepare, take every precaution,remain both careful
and compassionate. We will get through this.




                                                           EXHIBIT 4 TO KPR DEC.            2
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         RESTARTING MAINE’S ECONOMY


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       RESTARTING MAINE’S ECONOMY


INTRODUCTION
After months of tireless efforts and decisive action by people across Maine, our state
appears to be flattening the curve against COVID-19. However, we should not expect life
to return to normal. Instead, we have to embrace a new normal – a different way of doing
business, shopping, traveling and recreating that keeps us all safe. To that end, the Mills
Administration has prepared a plan to gradually and safely restart Maine’s economy.

The plan establishes four gradual stages of reopening, the first of which begins on May
1st. Designed with input from public health and industry experts, this staged approach will
allow Maine businesses to safely open when the time is right, and stay open by following
reasonable, practical guidelines to ensure the safety of employees and customers.

Public health is the foremost factor guiding this process. As the Administration
gradually eases restrictions on some businesses and activities, it also implements
protective protocols, along with broader additional health and safety measures, to protect
Maine people.




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      RESTARTING MAINE’S ECONOMY


The guiding principles for this approach include:




1      PROTECTING PUBLIC HEALTH
       The State will continue to use epidemiological data, such as case trends
       and hospitalization rates, to inform decisions about the appropriate time
       to lift restrictions.




2      MAINTAINING HEALTH CARE READINESS
       Maine must be able to respond to any surge of COVID-19. To that end, the State
       will continue to work closely with hospitals and health systems to assess system
       capacity, including available hospital beds, ICU beds and ventilators, and to procure
       and distribute personal protective equipment to hospitals, nursing facilities,
       emergency services, and other frontline responders.




3      BUILDING RELIABLE AND ACCESSIBLE TESTING
       Testing for all symptomatic people and sentinel disease surveillance are key
       foundations for opening the economy. While the widespread availability of rapid
       testing remains a challenge, the State is actively seeking to expand testing to make
       it more accessible to Maine people.




4      PRIORITIZING PUBLIC-PRIVATE COLLABORATION
       Opening Maine’s economy depends on close collaboration among businesses,
       employees, government, and the public to develop, implement, oversee, and accept
       guidelines and safe practices. A new Economic Recovery task force will be appointed
       to ensure this occurs.




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      RESTARTING MAINE’S ECONOMY


A STAGED APPROACH
Under the Governor’s plan, the stages are based on calendar months, to allow for
time to assess the effectiveness of the health and safety precautions put into place
and give businesses a predictable timeframe to plan for opening.

The earliest stages are focused on resuming business operations and activities
which can be conducted in a safe manner, meaning they have a low risk for potential
transmission of the virus.

In addition, new public health guidance will also go into effect. Maine people will
be newly required to wear cloth face coverings in public settings where physical
distancing measures are difficult to maintain.

Employers must also ensure workers wear such cloth face coverings when
appropriate, and long-term care facilities will be subject to emergency rules to keep
residents and staff safe.

While progression through the stages is planned month-by-month, decisions will
be determined by public health metrics. Progress may also change based on virus
trends, testing or treatment breakthroughs, or identification of new, safe ways of
doing business.




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HEALTH METRICS
Throughout the opening process, Maine CDC epidemiological data, such as case
trends and hospitalization rates, as well as health care readiness and capacity,
will inform Governor Mills’ decisions on proceeding through the stages and lifting
restrictions.

The Maine CDC will be tracking three primary metrics in its evaluation of whether or
not to progress through the stages:

  1. a downward trajectory of influenza-like illnesses and COVID-like syndromic cases;

  2. a downward trajectory of documented cases and newly hospitalized patients; and

  3. the capacity of Maine’s hospital systems to treat all patients without crisis care
      and the ability of the state to engage in a robust testing program.

The Administration will also continue to evaluate standards outlined in the
Governor’s vision statement, such as testing capacity and contact tracing, to inform
decisions about proceeding.

If the COVID-19 situation worsens in Maine for any reason, the state will move quickly
to either halt progress or return to an earlier stage.




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       RESTARTING MAINE’S ECONOMY


ESTABLISHING SAFETY PRECAUTIONS
In order to reopen, various sectors of Maine’s economy will be required to work with
the Department of Economic and Community Development to implement practical,
reasonable, evidence-informed safety protocols and modifications that protect the
health and safety of employees and customers.

These accommodations may be as simple as closing break rooms, providing flexible
working hours, employee training, and installing plexiglass shields, or as complex as
adjusting a business’ sales process and reducing occupancy to ensure employee and
customer safety.

This collaboration between DECD and the private sector will result in what will be
known as a COVID-19 Prevention Checklists, which will be distributed ahead of staged
openings to allow businesses to prepare.

These checklists will identify best practices for the business specific to its operations
as well as general best practices related to physical distancing, hygiene, personal
protection, and maintenance of clean workplaces, among others.

The checklists, which will differ sector to sector, will undergo a rigorous review
process including from government officials, health experts, and industry
representatives.

Businesses that commit to complying with the requirements on the checklist will be
provided a badge to post at their business, on their website, in their advertising, or
on social media. Their names will also be posted on the DECD website and they will
be allowed to open. Health providers in Maine will follow U.S. CDC and professional
association guidelines.




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      RESTARTING MAINE’S ECONOMY


RESTARTING MAINE’S ECONOMY
The Governor’s plan builds on current Executive Orders, which allow for the
operation of grocery stores, pharmacies, financial institutions, home repair services,
and car repair services, among others, and then plans for the safe reopening of those
businesses not currently operating.

The stages do not use essential v. non-essential designations, like those used to
limit business operations and activities in the immediate response to COVID-19. All
businesses in Maine are essential, and the focus is now on ensuring the safety of their
employees and customers.

The stages are advanced as a framework for planning. Innovations or expanded
testing and other capacity could accelerate this pace, as could a determination that
certain parts of Maine, such as rural areas, may be able ease restrictions safely.

The Mills Administration does not currently anticipate that it will be safe to accept
cruise or commercial passenger ships with more than 50 people this summer.
The Administration will review this assessment in September 2020. This excludes
passenger ferries working between Maine ports.

Additionally, the Administration is currently working with stakeholders to develop
plans for a safe return to school in the fall.




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The upcoming four stages as contemplated by the Governor’s plan include:

STAGE 1, MAY
Stage 1 contemplates a continued prohibition on gatherings of more than 10 people
as well as the continued quarantine of all people entering Maine for a period of 14
days. All businesses that have been open may remain open. At-risk people should
stay home when possible.

In addition:

  • If employees are able to work from home, they should continue to do so.
    This includes State of Maine employees.
  • Professional services, such as legal services, should continue to be
    done remotely.
  • Construction firms should deploy additional Personal Protective Equipment
     and other safety measures on job sites.


OPENINGS PERMITTED
PER CHECKLIST STANDARDS
ENTERTAINMENT
  • Drive-in theaters

HEALTH CARE
  • H
     ealth care from Maine licensed providers, with a recommendation that they
    prioritize care for patients with time-sensitive conditions; assure the safety of
    patients, staff, and communities; manage the use of essential resources such
    as personal protective equipment and testing supplies; and pace reopening
    services to the level of community COVID-19 activity, maintaining capacity in
    our hospitals for potential outbreaks.




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         RESTARTING MAINE’S ECONOMY


OUTDOOR RECREATION:
  •   Golf Courses and Disc Golf Courses, with restrictions
  •   Guided outdoor activities (Hunting, Fishing)
  •   Guided boating (10 or fewer customers)
  •   Marinas
  •   Some 30 State Parks and Historic sites, but coastal sites will remain closed.
  •   State owned public lands trails

PERSONAL SERVICES:
  • Barber Shops and Hair Salons
  • Dog Grooming

RELIGIOUS
  • Limited drive-in, stay-in-your-vehicle church services

RETAIL/COMMERCIAL
  • Auto Dealership Sales
  • Car Washes




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       RESTARTING MAINE’S ECONOMY



RURAL REOPENING PLAN
Following the announcement of a partnership with IDEXX Laboratories that will
more than triple Maine’s COVID-19 testing capacity, Governor Janet Mills announced
a rural reopening plan on May 8 aimed at safely reopening certain additional
businesses in counties of Maine which have not experienced community
transmission of the virus.

Under the plan, retail stores and restaurants in Aroostook, Piscataquis,
Washington, Hancock, Somerset, Franklin, Oxford, Kennebec, Waldo, Knox, Lincoln,
and Sagadahoc counties will be permitted to open in-store and dine-in service with
enhanced safety precautions. Additionally, remote campsites as well as sporting
camps are also permitted to reopen with public health safeguards in these counties.



OPENINGS NOW PERMITTED
PER CHECKLIST STANDARDS:
MAY 11:
  • Retail businesses

MAY 18:
  • Restaurants (for dine-in service and outdoor dining)
  • Wilderness campsites and sporting camps




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STAGE 2, JUNE
Stage 2 contemplates a continued prohibition on gatherings of more than 50 people
and the 14-day quarantine on people entering Maine. All businesses that have been
open may remain open. At-risk people should stay home when possible. Employees
in legal and professional fields may return to offices, including State employees,
as needed.



OPENINGS PERMITTED
PER CHECKLIST STANDARDS
HOSPITALITY
  • Restaurants
  • L
     odging (Open to Maine residents and out-of-state residents who have
    completed quarantine guidelines.)

OUTDOOR RECREATION
  • Campgrounds/RV
                    parks (Open to Maine residents and out-of-state residents
    who have completed quarantine guidelines.)
  • D
     ay camps for Maine children and those who have met the 14 day
    quarantine requirement
  • Coastal State Parks, with some services
  • State park campgrounds
  • Non-professional sports

PERSONAL SERVICES
  • Fitness and Exercise Gyms
  • Nail Technicians
  • Tanning salons




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RETAIL
  • All retail businesses

PUBLIC GATHERING
  • Large gatherings
  • Religious gatherings
  • Public/community settings




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STAGE 3, JULY-AUGUST
Stage 3 maintains the prohibition on gatherings of more than 50 people and the 14-
day quarantine on people entering Maine. All businesses that have been open may
remain open. At-risk people should stay home when possible. Employees in legal
and professional fields may return to offices, including State employees, as needed.



OPENINGS PERMITTED
PER CHECKLIST STANDARDS
HOSPITALITY
  • Bars
  • L
     odging, such as hotels, campgrounds, summer camps, or RV parks for Maine
    residents and visitors. The Administration is developing guidelines (e.g. poten-
    tial testing requirements) to assist them in safely reopening.

OUTDOOR RECREATION
  • Charter boats, excursions – fewer than 50 people
  • Summer Camps

PERSONAL SERVICES
  •   Spas
  •   Tattoo and Piercing Parlors
  •   Massage Facilities
  •   Cosmetologists and Estheticians
  •   Electrolysis Services
  •   L
       aser Hair Removal Services, and Similar Personal Care and Treatment
      Facilities and Services




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      RESTARTING MAINE’S ECONOMY



STAGE 4, TBD
All businesses are open and operating with appropriate safety modifications.




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2019 Coronavirus (COVID-19) Frequently Asked Questions*
*Information is current as of 5/8/2020 and is subject to change

Please note: Text in this color denotes information that has been updated or added within the
7 days prior to release of this document version
Text in this color denotes information that has been updated since the last version of this
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Key Points
      •     This virus can spread from person-to-person. It can cause severe disease and death.
      •     Community-wide transmission of the COVID-19 virus is occurring in Androscoggin, Cumberland, Penobscot, and
            York counties. (4/19)
      •     Effective at least through May 31, 2020, all Maine residents are required to stay at home under the Stay
            Healthier at Home Order. (4/28)
      •     Currently, the greatest risk for COVID-19 is still travel to an area with ongoing community transmission and/or
            close contact with a confirmed case. (3/17)
      •     The Governor outlined her plan for a gradual, safe reopening of Maine’s economy on April 23, 2020.
      •     The Governor outlined her Rural Reopening plan on May 8, 2020.

Situation in Maine
What is the Maine Stay Healthier at Home order? (4/28)
      •     Effective May 1 until May 31, 2020, all people living in Maine are required to stay at home at all times unless for
            an essential job or an essential personal reason. Modifications to this order will be made slowly as Maine
            progresses through the Governor’s plan to restart the economy.
                o Only go out for essential personal reasons, including:
                        ▪ Obtaining necessary supplies for household consumption or use, such as groceries, and supplies
                             and equipment needed to work from home, laundry, and products needed to maintain safety,
                             sanitation, and essential maintenance of the home or residence.

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                   ▪    Obtaining medication or medical supplies and seeking medical or behavioral health or
                        emergency services.
                    ▪ Providing care, including transportation, of oneself, a family member, friend, pet or livestock in
                        another household or location for essential health and safety activities and to obtain necessary
                        supplies and services.
                    ▪ Traveling to and from an educational institution for purposes of receiving meals or instructional
                        materials for distance learning.
                    ▪ Engaging in outdoor exercise activities, such as walking, hiking, running, or biking, but, only with
                        fewer than 10 people and using social distancing guidance.
                    ▪ Travel required by a law enforcement officer or court order.
                    ▪ Traveling to and from a federal, State, or local government building for a necessary purpose.
           o When out of the home or when at work at an essential business, individuals shall maintain a minimum
               distance of six feet from other people.
   •   The use of public transportation is prohibited unless for an essential reason or job that cannot be done from
       home.
   •   The number of people traveling in private vehicles is limited to people within the immediate household unless
       transporting for essential activities.
   •   This order is enforced by law enforcement and violations will be subject to up to six months in jail and a $1000
       fine.

What happens when a case of COVID-19 is identified in Maine? (3/31)
   •   When a person is tested for COVID-19, they are asked to self-isolate at home if they are well enough or are
       isolated in hospital if required. This continues until they meet criteria for release from isolation.
   •   When Maine CDC is notified of a positive result, an epidemiologist reaches out to the patient to conduct an
       investigation. Close contacts of the positive person who may have been exposed are identified and contacted.
       These individuals are instructed to quarantine for 14 days and monitor for symptoms.


Can I stay at a hotel, motel, or short-term rental? (5/8)
   •   Governor Mills mandated the closure of lodging operations, including hotels, motels, bed and breakfasts, inns,
       short-term rentals (such as those available through Airbnb) as well as online reservations.
            o This is effective April 5, 2020 at 12:00 pm.
            o Reservations as allowed by the order (listed below) may only be accepted by phone.
   •   Lodging can be provided for housing vulnerable populations; for health care workers or other workers deemed
       necessary to support public health, public safety, or critical infrastructure; for self-quarantine or self-isolation
       facilities as arranged by the state; and under limited verifiable extenuating circumstances for the care and safety
       of residents as approved by the State.
            o Vulnerable populations include children in emergency placements, persons at risk of domestic violence,
                 and homeless individuals as permitted by the State.

Can I stay at a campsite? (5/8)
   • In Androscoggin, Cumberland, Penobscot, and York Counties- All campsites are mandated to remain
        closed (until June 1).
   • In Aroostook, Piscataquis, Washington, Hancock, Somerset, Franklin, Oxford, Kennebec, Waldo, Knox,
        Lincoln, and Sagadahoc Counties- Remote campsites are permitted to open Monday, May 18th to
        Maine residents and to those who have already completed their 14-day quarantine.
            o Added health and safety precautions must be followed. See:
               https://www.maine.gov/governor/mills/news/governor-mills-introduces-rural-reopening-plan-2020-05-
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Can I stay at a camp that provides hunting and fishing? (5/8)
   • In Androscoggin, Cumberland, Penobscot, and York Counties- All campsites are mandated to remain
        closed (until June 1).
   • In Aroostook, Piscataquis, Washington, Hancock, Somerset, Franklin, Oxford, Kennebec, Waldo, Knox,
        Lincoln, and Sagadahoc Counties- Remote campsites are permitted to open Monday, May 18th to
        Maine residents and to those who have already completed their 14-day quarantine.
            o Added health and safety precautions must be followed. See:
               https://www.maine.gov/governor/mills/news/governor-mills-introduces-rural-reopening-plan-2020-05-
               08

What is the guidance for events or gatherings in Maine? (4/28)
   •   Effective May 1 until May 31, gatherings of 10 or fewer people are allowed to occur in accordance with the
       Governor’s plan to reopen the Maine economy.
   •   This is a proactive measure to help reduce the spread of COVID-19 in Maine.

When can restaurants open? (5/8)
  • In Androscoggin, Cumberland, Penobscot, and York Counties- All restaurants are mandated to close to
      dine-in customers (until June 1).
          o Take-out, delivery, and drive-through options can continue during this time, though Governor
              Mills urges these services to minimize gathering of customers.
          o Governor Mills urges Maine people to continue to support establishments by purchasing take-
              out meals, buying gift cards, or other measures of support.
  • In Aroostook, Piscataquis, Washington, Hancock, Somerset, Franklin, Oxford, Kennebec, Waldo, Knox,
      Lincoln, and Sagadahoc Counties- Restaurants will be permitted to open to some dine-in service and
      outdoor dining on Monday, May 18th.
          o Added health and safety precautions must be followed. See:
               https://www.maine.gov/governor/mills/news/governor-mills-introduces-rural-reopening-plan-2020-05-
               08
           o This aligns with the opening of the same businesses in New Hampshire.

When can bars open? (5/8)
   •   Bars across the state, no matter what county they are in, are to remain closed at this time. Refer to Business
       Answers for more information.
           o Questions about when bars can reopen should be directed to the Business Answers Team at:
                ▪ Business.answers@maine.gov
                ▪ 1-800-872-3838

When can retail stores open? (5/8)
  • In Androscoggin, Cumberland, Penobscot, and York Counties- Continue under the same guidelines
      from the Governor’s Gradual Reopening Plan: https://www.maine.gov/governor/mills/news/governor-mills-
       presents-safe-gradual-plan-restart-maines-economy-2020-04-28
   •   In Aroostook, Piscataquis, Washington, Hancock, Somerset, Franklin, Oxford, Kennebec, Waldo, Knox,
       Lincoln, and Sagadahoc Counties- Retail stores will be permitted to open to in-store customers
       beginning Monday, May 11.
           o Added health and safety precautions must be followed. See:
               https://www.maine.gov/governor/mills/news/governor-mills-introduces-rural-reopening-plan-2020-05-
               08
           o This aligns with the opening of the same businesses in New Hampshire.

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When can fitness and exercise gyms open? (5/8)
   •   Statewide – Permitted to open on May 11, 2020 to outdoor classes of 10 individuals or less. They can also open
       for one-on-one personal training inside fitness centers.
   •   For more information and guidelines contact Business Answers:
           o Business.answers@maine.gov
           o 1-800-872-3838

What health and safety precautions should businesses follow to reopen when they are permitted to?
(5/8)
   • Implement physical distancing measures. Guidance on the number of customers that can be allowed
      in stores of specific sizes can be found here.
          o The limits must be enforced and a 6-foot separation be placed between any customers waiting
              in lines.
          o As much business as possible must be conducted by curbside order, pick-up, or delivery.
          o The handles of every cart and basket must be disinfected between uses.
          o Customer handling of unpurchased merchandise must be minimized.
          o Separate operating hours for Maine people over the age of 60 and those with underlying
              medical conditions must be provided.
          o Fitting rooms must be closed.
          o Stagger break times for employees and require frequent hand washing.
   • Other businesses are encouraged to have employees work remotely or implement social distancing
      measures if this is not possible, including: legal services, business and management consulting,
      professional services and insurance services, etc.
   • Any business that violates this order will be subject to further on-site restrictions or closure until those
      violations are addressed.
   • Further guidance for businesses from US CDC can be found here.

I am planning to move or am a professional mover. What should I do during the Stay Healthy at Home
mandate? (4/1)
    • If possible, it is best for you to delay your move until after the Stay Healthier at Home mandate, at least
       through May 31, 2020.
    • If it is not possible for the move to be delayed, this is considered an essential activity.

When will Maine start to reopen? (5/8)
   •   Governor Mills announced her plan for a gradual reopening of the economy on April 28, 2020.
   •   Governor Mills announced her plan for the rural reopening of the economy on May 8, 2020.

How do I know when my business can reopen? (4/28)
  • Contact the Business Answers team at:
          o Business.answers@maine.gov
          o 1-800-872-3838

When can hotels and other lodging operations begin to take general reservations again? (4/28)
   •   Lodging, such as hotels, short-term rentals, and RV parks for Maine residents and visitors may begin to open
       again in Stage 3 of the reopening of Maine’s economy, tentatively beginning July 1st.
           o Reservations should not be taken until guidance on safe reopening is issued from the Governor’s office.



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Where can I find the checklist for my business and who can I call with questions about it? (5/8)
   •    Checklists for best practices for safely operating your business during COVID-19 are available on Maine
        Department of Economic & Community Development’s (Maine DECD) webpage.
   •    Contact Maine DECD with questions about the checklists:
            o Business.answers@maine.gov
            o 1-800-872-3838

Where can I find the badge for my business to post on my door, website, or social media channel? (4/30)
   •    Please go to the Office of Economic and Community Development’s website:
        https://www.maine.gov/decd/covid-19-prevention-checklists

How long will concerns about COVID-19 last? (3/31)
   •    Concerns will linger until there is more scientific data about the behavior or COVID-19 and its impacts.
   •    It is likely that the virus that causes COVID-19 will continue to circulate.
   •    Concerns will persist as long as the virus continues to spread rapidly.

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Business Complaints

I have a complaint about a grocery store that is not complying with the Governor’s Order. Who should I
contact about this? (5/8)
    • Please contact the Maine Department of Agriculture, Conservation, & Forestry.
    • In addition, please let local law enforcement know.

I have a complaint about a restaurant that is not complying with the Governor’s Order. Who should I
contact about this? (5/8)
   •    Please contact Maine’s Health Inspection Program.
   •    In addition, please let local law enforcement know.

I have a complaint about a retail store is not complying with the Governor’s Order. Who should I contact
about this? (5/8)
   •    Please contact Maine’s Department of Economic and Community Development:
            o Business.answers@maine.gov
            o 1-800-872-3838
   •    In addition, please let local law enforcement know.

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Response to COVID-19
What is the Governor doing? (4/28)
   •    See Governor Mills’ executive orders.




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I am a healthcare worker and would like to volunteer to help with the COVID-19 response. How can I do
this? (3/26)
   •    Please visit www.maineresponds.org to register as a volunteer to provide services during a disaster or
        emergency situation.

I would like to volunteer for emergency or disaster relief efforts in Maine. How can I do this? (4/15)
   •    Please visit www.maineready.org to register as a volunteer for current and future emergency or disaster relief
        efforts.

Where can I find more information on donating time or resources? (3/31)
   •    Please visit the MaineHelps resource for information on how you can support efforts to combat the COVID-19
        pandemic.
   •    Extending financial support:
            o To donate financial support for critical needs such as food and shelter, contact your local United Way.
            o To donate financial support for regional and community-based nonprofits, area agencies on aging,
                community action programs, homeless shelters, and food pantries, visit the Maine Community
                Foundation.
   •    Supporting the healthcare and medical response:
            o To donate certified medical supplies, like personal protective equipment (PPE), fill out this form.
            o Maine people are encouraged to donate blood via the American Red Cross of Maine, which is
                experiencing a critical shortage of blood donations.
   •    Supporting local small businesses:
            o Maine people are encouraged to safely support local businesses through efforts like
                PayItForwardMaine.
                      ▪ Be mindful of physical distancing guidelines and using online transactions or pickup and delivery
                         services.

I would like to donate homemade cloth face masks for health care providers. How can I do that? (4/15)
   •    Please contact the health care facility where you would like to donate cloth face masks. This will ensure that the
        facility is accepting masks and that you follow any materials requirements.

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Prevention and Protection
What should I do if I had contact with someone with COVID-19 (not a health care or critical infrastructure
worker)? (4/9)
   •    These guidelines apply to people who are not considered health care or critical infrastructure workers.
   •    If you had close contact (within 6 feet for 30 minutes or more) with a person who tested positive for COVID-19
        while they were symptomatic or within 48 hours before their symptoms started:
             o You need to quarantine at home for 14 days. Take your temperature 2x per day and monitor for fever,
                cough, or difficulty breathing.
             o You can have contact with people in your household and they can continue to leave home as long as you
                are not symptomatic.
   •    If you had contact (within 6 feet for less than 30 minutes) with a person who has tested positive for COVID-19
        while they were symptomatic or within 48 hours before their symptoms started:
             o No quarantine is recommended. Monitor for symptoms for 14 days and contact healthcare provider if
                symptoms develop.
   •    If you have been in the same room (more than 6 feet away) at the same time as a person who tested positive:

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            o   No quarantine is recommended. Monitor yourself for symptoms for 14 days and contact a healthcare
                provider if symptoms develop.
   •    If you have been in a room at a different time than a person who tested positive:
             o No action is needed. You are not considered a contact.
   •    If you have had contact with someone who has been in contact (no direct contact) with a person who has
        tested positive:
             o No action is needed.
             o You can monitor yourself for symptoms and contact a healthcare provider if symptoms develop.
   •    If you have had any contact with someone who is sick but does not have a positive test result:
             o No quarantine is recommended. Monitor yourself for symptoms for 14 days and contact a healthcare
                provider if symptoms develop.

What should I do if I had contact with someone with COVID-19 (health care or critical infrastructure
worker)? (4/29)
   •    These guidelines apply for people who are considered health care or critical infrastructure workers.
   •    Critical Infrastructure workers include:
             o Federal, state, and local law enforcement.
             o 911 call center employees.
             o Fusion Center employees.
             o Hazardous material responders from government and the private sector.
             o Janitorial staff and other custodial staff.
             o Workers (including contracted vendors) in food and agriculture, critical manufacturing, informational
                  technology, transportation, energy, and government facilities.
   •    Asymptomatic critical infrastructure workers may continue to work following potential exposure to COVID-19.
             o Potential exposure means being a household contact or having close contact (within 6 feet for 30
                  minutes or more) of an individual with confirmed or suspected COVID-19.
             o This contact period includes up to 48 hours before the sick individual became symptomatic.
   •    Asymptomatic health care providers should follow the recommended self-quarantine if their facility can still
        remain open without the asymptomatic health care worker.
             o If the facility would have to close in their absence, then the asymptomatic person can continue to work
                  following these guidelines.
   •    Health care and critical infrastructure workers who remain asymptomatic should follow these practices prior to
        and during their work shift:
             o Pre-screen: measure the employee’s temperature and check for symptoms prior to starting work.
                  Temperature checks should occur before the individual enters the facility.
             o Regular monitoring: Employee should self-monitor for symptoms during shift.
             o Wear a mask: Employee should wear a face mask at all times while in the workplace for 14 days after
                  the last exposure.
             o Social distance: Maintain 6-foot distance and practice social distancing as work duties permit.
             o Disinfect and clean work spaces: clean and disinfect all areas like offices, bathrooms, common areas,
                  and shared electronic equipment.
   •    If the employee shows symptoms of COVID-19, they must be sent home immediately.
             o Surfaces in workspace should be cleaned and disinfected.
             o Information on anyone who had contact with the ill employee from 48 hour before up to the time the
                  employee became symptomatic should be collected. Anyone with close contact within 6-feet during this
                  time would be considered exposed.
   •    This and further guidance can be found at US CDC Interim Guidance for Critical Infrastructure Workers page.

What can people do to prevent infection with COVID-19?
   •    The best way to prevent infection is to avoid being exposed to this virus. People should avoid travel to affected
        areas, practice social distancing, and follow general respiratory prevention measures:
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           o   Wash your hands often with soap and water for at least 20 seconds. This is especially important after
               using the bathroom, before eating, and after blowing your nose, coughing, or sneezing. If soap and
               water is not available, use an alcohol-based hand sanitizer with at least 60% alcohol.
           o   Avoid touching your eyes, nose, and mouth with unwashed hands.
           o   Avoid touching high-touch surfaces in public.
           o   Avoid close contact with people who are sick.
           o   Cover your cough or sneeze into a tissue, then throw the tissue in the trash.
           o   Clean and disinfect frequently touched objects and surfaces using a regular household cleaning spray or
               wipe.
           o   Stay home when you are sick.

I cannot find facemasks or other personal protective equipment (PPE) anywhere. Can Maine CDC help?
(4/4)
   •    Maine CDC is not able to provide personal protective equipment to members of the public or assist in helping
        members of the public find sources for personal protective equipment.
   •    If you are sick, contact your healthcare provider for assistance in finding facemasks and other equipment.
   •    If you are not sick, you can wear a cloth facemask.
             o Information is available from US CDC on the use and creation of cloth face coverings.
   •    Wearing facemasks should not take the place of other prevention measures. Continue to practice general
        respiratory prevention measures.
   •    Healthcare facilities should follow US CDC’s strategies for optimizing the supply of PPE.
   •    Information is available from US CDC on the use and creation of cloth face coverings.

I am allowed to reopen my private business under the Governor’s plan (Ex: hair salons). Can I get PPE
through the State cache? (4/30)
   •    The process currently put in place to request PPE from the State cache is intended to provide supplies to
        healthcare facilities in Maine.
   •    The State cache is not an appropriate source of PPE for reopening of private businesses under the Governor’s
        plan.
   •    If private businesses cannot secure enough PPE to reopen services safely, then they may not reopen.

I am not able to secure PPE through the State cache for my business, so where can I find PPE? (4/30)
   •    Please go to https://pages.mainemep.org/ to find cloth face covers sold by Maine manufacturers.


Do I have to wear a mask every time I go out in public in Maine? (4/30)
   • The Governor’s order requires Maine people to wear cloth face coverings in public places where
       physical distancing is difficult to maintain, as recommended by the U.S. CDC. The order identifies public
       settings as:
           o Indoor spaces that are accessible to the public such as grocery stores, retail stores, pharmacies
               and healthcare facilities
           o Outdoor spaces such as playgrounds, busy parking lots, and other areas such as lines for take-
               out service where the public typically gathers in a smaller area
           o Public transportation such as a taxi, Uber, Lyft, ride-sharing or similar service
           o Ferry, bus, or train
           o Any semi-enclosed transit stop or waiting area
   • Under the order, cloth face coverings are not required for children under age 2, a child in a child care
       setting, or for anyone who has trouble breathing or related medical conditions, or who is otherwise
       unable to remove the mask without assistance.
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   •    Even if you wear a facemask, you should also use other prevention methods.

Are there any cleaning recommendations to prevent COVID-19? (3/20)
   •    Clean and disinfect frequently touched objects and surfaces (tables, countertops, light switches, doorknobs,
        cabinet handles, etc.) daily using a regular household cleaning spray or wipe.
   •    Consult this list of EPA-approved products for emerging viral pathogens for recommendations.
   •    Find cleaning recommendations for households with suspected/confirmed COVID-19 cases here. (3/20)

What type of hand sanitizer should I be using?
   •    Use an alcohol-based hand sanitizer that contains 60 percent to 95 percent alcohol.
   •    If soap and water are readily available, wash hands instead of using alcohol-based hand sanitizer.

What is social distancing?
   •    Social distancing means remaining out of:
            o Public places where close contact with others may occur (shopping centers, movie theaters, stadiums,
                 etc.).
            o Workplaces (unless in an office space that allows distancing from others).
            o Schools and other classroom settings.
            o Local public transportation (bus, subway, taxi, ride share, plane, ship, etc.).

How long will it take to develop a vaccine for COVID-19? (3/31)
   •    Currently, a massive effort is underway to develop a vaccine for COVID-19.
   •    It can take one to two years to develop a fully-tested vaccine.
   •    Initial supplies of a COVID-19 vaccine would be for those at highest risk of exposure and those at highest risk of
        severe disease.

What is the difference between isolation and quarantine? What is involved? (4/29)
   •    Self-quarantine means that you need to separate yourself from others because you may have been exposed to
        the COVID-19 virus but are not currently symptomatic.
   •    Self-isolation means that you need to separate yourself from others because you may be infected with the
        COVID-19 virus and you are experiencing symptoms.
   •    Self-monitoring means that you need to pay attention to your health to note if you develop symptoms of COVID-
        19, including fever, cough, or difficulty breathing.
   •    For both self-quarantine and self-isolation:
             o Stay home.
             o You cannot go to public places even for essential reasons, including grocery stores. Plan to have 14 days
                 of food available or arrange to have it delivered to you.
             o Do not have visitors in your home.
             o Avoid contact with others, especially those who are at high risk of severe COVID-19 illness.
             o Keep a distance of at least 6 feet from other people.
             o If you are sick, wear a mask that covers your nose and mouth.
   •    During self-quarantine, you can have contact with other members of your household.
   •    During self-isolation, you should avoid having contact with other members of your household as much as
        possible.
   •    These are different from the Stay Healthy at Home Order.
             o This order allows you to go out for essential personal reasons.
             o If you are self-quarantining or self-isolating, you cannot leave your house for essential personal reasons.

I recovered from COVID-19 and would like to donate plasma to help others who are sick. How can I do
this? (4/15)
   •    The American Red Cross is recruiting plasma donors who have recovered from COVID-19. Donors must:
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           o Have recovered from confirmed (lab-tested) COVID-19.
           o Be 17 years of age or older.
           o Have been recovered (without symptoms) for at least 14 days.
   •    Anyone who meets these criteria can register at with the American Red Cross.

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Epidemiology
How is COVID-19 spread and acquired?
   •    The virus that causes COVID-19 can be transmitted from person-to-person.
            o This is thought to occur when an infected person coughs or sneezes within 6 feet of an uninfected
                person and the uninfected person breathes in the virus.
   •    The best way to prevent infection is avoiding exposure to the virus by practicing prevention measures.

Can a person spread the COVID-19 virus even if they have no symptoms? (4/1)
   •    It is possible that people infected with COVID-19 may be infectious before showing symptoms.
              o More detailed studies are being done to determine whether people acquire COVID-19 from those
                 without symptoms.
   •    People are thought to be most contagious when they are most symptomatic/the sickest.
   •    Maine CDC recommends that only people who are showing symptoms be tested for COVID-19.

How efficient is the spread of COVID-19? (3/31)
   •    Initial data suggest that each person with COVID-19 may infect up to two or three additional people if no
        prevention measures are used.
   •    Some spread might be possible before people show symptoms.
   •    Person-to-person infection with COVID-19 usually happens after close contact with an infected person.
             o Close contact is defined as being within 6 feet of an infected person for 30 minutes or more.

Can the COVID-19 virus be spread from contaminated surfaces? (3/31)
   •    The COVID-19 virus can be acquired from contaminated surfaces, but this is not the primary way the virus
        spreads.
            o This happens when an infected person coughs or sneezes and droplets land on surfaces. A person can
                become infected by touching the contaminated surface and then touching the eyes, nose, or mouth.
   •    Clean and disinfect frequently touched objects and surfaces.
   •    Most often, spread of the virus happens among close contacts through respiratory droplets. Practice general
        prevention measures.

Can the COVID-19 virus be spread in the air or only by droplets? (3/31)
   •    People mainly acquire COVID-19 by respiratory droplets from coughs or sneezes.
           o Experts believe that COVID-19 does not spread via the airborne route.
   •    There are important differences between droplet and airborne transmission.
           o Droplets are larger and heavier than airborne particles and settle faster.
   •    Only a limited number of diseases are capable of airborne transmission, like measles and tuberculosis.

How infectious is the virus that causes COVID-19? (3/31)
   •    The virus that causes COVID-19 spreads similarly to viruses that cause the common cold.
   •    How easily the virus spreads from person-to-person appears highly variable.
   •    Much is still unknown about the spread of the virus that causes COVID-19.

Can someone who has recovered from COVID-19 spread the illness to others?
   •    Someone who is actively sick with COVID-19 can spread the illness to others.

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   •     Once a person with COVID-19 has been released from isolation and is no longer showing symptoms without the
         aid of medication (fever-reducers, cough suppressants), they are no longer considered able to spread the
         COVID-19 virus.

What is community spread?
   •     Community spread means people have been infected with the virus in an area, including some who are not sure
         how or where they became infected.

Am I at risk for COVID-19 infection in Maine? (3/17)
    •    Visit the Maine CDC Coronavirus website for updated information on cases in Maine.
    •    Elevated risk: People in places with ongoing community spread of the virus, healthcare workers, close contacts
         caring for COVID-19 cases, and travelers returning from affected international locations.

What information will Maine CDC release about any confirmed cases? (3/18)
   •     Maine CDC will release the following information: gender, age range, county of residence, and test status.
   •     Maine CDC will not release additional personal information about confirmed cases.
   •     Maine CDC conducts investigations for all confirmed cases. Any potential contacts will be contacted.
   •     Press releases and information about cases are located on Maine CDC’s website.
   •     The recommendations for the public do not change based on personal details of confirmed cases. Continue to
         follow proper precautions.

Will Maine CDC release the towns/cities where confirmed cases are located? (3/24)
   •     No, Maine CDC will not provide this level of information.
   •     All people in Maine should be practicing general respiratory prevention measures as if COVID-19 is in their town,
         according to Maine CDC Director Shah.

What about people from out of state who test positive? Where are their results reported? (3/31)
   •     Out-of-state travelers who test positive in Maine are reported by the state of their primary residence. This is to
         ensure an accurate national tally of COVID-19 cases under guidance from US CDC.
   •     Patients may continue to receive treatment in the state where they are tested.




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Medical Information and Testing
What are the signs/symptoms of COVID-19 and when do they appear? (4/28)
   •     People with these symptoms or combinations of symptoms may have COVID-19
            o Cough.
            o Shortness of breath or difficulty breathing.
            o Or at least two of these symptoms:
                    ▪ Fever.
                    ▪ Chills.
                    ▪ Repeated shaking with chills.
                    ▪ Muscle pain.
                    ▪ Headache.
                    ▪ Sore throat.
                    ▪ New loss of taste or smell.
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   •    Seek medical attention immediately if you experience any of these emergency warning signs for COVID-19:
           o Trouble breathing.
           o Persistent pain or pressure in the chest.
           o New confusion or inability to arouse.
           o Bluish lips or face.
   •    Symptoms may appear 2-14 days after exposure to the virus.

Who is at higher risk for serious illness from COVID-19?
   •    Older adults and people who have serious chronic medical conditions are at higher risk for serious illness.
   •    Serious chronic medical conditions include: heart disease, diabetes, and lung disease.

What should people at higher risk of serious illness with COVID-19 do? (3/13)
   •    If you are at a higher risk of getting very sick from COVID-19, you should:
             o Stock up on supplies, including daily medications.
             o Take everyday precautions to keep space between yourself and others.
             o When out in public, keep away from others who are sick.
             o Limit close contact with others.
             o Wash your hands often.
             o Avoid crowds
             o Practice social distancing.
   •    If there is an outbreak in your community, stay home as much as possible.
   •    Watch for symptoms. If you get sick, stay home and call your doctor.
   •    Visit U.S. CDC’s page for People at Risk for Serious Illness from COVID-19 for more information.

Who can be tested (PCR, antibody, or rapid test) for COVID-19 and where? (3/20)
   •    Work with your healthcare provider to find your nearest testing location.
   •    Decisions to test are left up to the clinical judgement of your healthcare provider.
   •    Testing prioritization at HETL (the state lab):
            o Maine’s Health and Environmental Testing Laboratory (HETL) is prioritizing testing to high risk individuals
                to preserve testing supplies during a national supply shortage.
            o Individuals being tested must be symptomatic (fever or respiratory symptoms) AND fall into one of
                these high-risk categories:
                    ▪ Hospitalized patients.
                    ▪ Health care workers.
                    ▪ First responders (EMS, Police, Fire, etc.).
                    ▪ Those living in congregate settings (e.g. long-term care facilities, group homes, assisted living
                         facilities, jails, shelters).
                    ▪ Patients older than 60 years.
                    ▪ Patients with underlying medical conditions.
            o If symptoms are consistent with COVID-19 but do not fall into high risk category, patient should be
                evaluated and isolated at home. Testing is not recommended.
            o Samples received at HETL for those not meeting high-risk criteria may be saved but later testing cannot
                be guaranteed.
            o Samples submitted from asymptomatic individuals will be rejected.
   •    Testing of patients who do not meet high-risk criteria for testing at HETL can be tested at other commercial
        laboratories.

I was tested for COVID-19. How long will my results take? How can I find results? (3/24)
   •    Contact the healthcare provider that tested you for a timeframe and for results.
   •    Maine CDC does not provide test results to individuals.


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My healthcare provider is not able to test me for COVID-19. What should I do? (3/12)
   •    If your symptoms are mild and do not require a visit to your healthcare provider, you should self-isolate at
        home.
   •    If your symptoms are serious enough to require a visit to your healthcare provider, call ahead BEFORE you leave
        for your healthcare provider’s office.
             o IF your provider is not able to test you, ask if they can facilitate testing at another location.
             o Always call ahead BEFORE arriving at a new healthcare provider’s location.

What should I do if I don’t have a Primary Care Provider (PCP)? (3/15)
   •    If you are sick or would like to be tested for COVID-19 but do not have a PCP, you can visit an urgent care or
        walk-in facility for care and testing. Always call BEFORE you arrive to let them know you are coming.
   •    The Emergency Department should be reserved for patients whose symptoms require emergency care.
   •    Always call a healthcare facility BEFORE going inside to let them know you are sick.

What should I do if I am under-insured? If I do not have insurance? (3/18)
   •    On March 12, 2020, Maine Governor Janet Mills declared an Insurance Emergency. This requires all private
        insurers in Maine to cover the costs of coronavirus testing, as well as associated costs, including healthcare visits
        and copays.
   •    Anyone uninsured in Maine can review this guidance to access COVID-19 testing and care.

Does COVID-19 affect children and adults differently?
   •    Older adults and people with underlying or chronic health conditions are at greatest risk.
   •    Youth appears to offer some protection from severe COVID-19 illness.
   •    All age groups can help slow the spread of COVID-19 by practicing general prevention measures.
   •    Find the latest information on the risk of COVID-19 for children here.

Does COVID-19 affect pregnant women?
   •    Initial studies indicate COVID-19 does not pass to a fetus during late pregnancy or cause severe health outcomes
        in a newborn.
   •    Information is very limited. Find the latest information on the risk of COVID-19 for pregnant women and infants,
        as well as recommendations for breastfeeding on US CDC’s Pregnancy and Breastfeeding site.

What is the medical treatment for people affected by COVID-19?
   •    There are currently no approved treatments for COVID-19 besides supportive care.
   •    Supportive care means that the symptoms of disease are treated, rather than the cause of the disease.

How can a person be released from isolation at home? (3/20)
   •    For individuals who have tested positive for COVID-19:
            o Self-isolate until:
                     ▪ At least 10 days have passed since symptoms first appeared (5/6), AND
                     ▪ At least 3 days (72 hrs) have passed since recovery (no fever without the use of fever-reducing
                         medications) and respiratory symptoms have improved.
            o All close contacts without symptoms of a person who has tested positive for COVID-19 should stay home
                (self-quarantine) for 14 days from the time of their last exposure.
   •    For individuals with symptoms compatible with COVID-19 who are not tested, or who are awaiting test results:
            o Self-isolate until:
                     ▪ At least 10 days have passed since symptoms first appeared (5/6), AND
                     ▪ At least 3 days (72 hours) have passed since recovery (no fever without the use of fever-
                         reducing medications and improvement in respiratory symptoms).
            o There are no recommendations at this time for close contacts of an individual that has been asked to
                self-isolate but has not been tested. Any close contacts who become sick should self-isolate and follow
                this same guidance.
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   •    Specific criteria are available for healthcare workers with confirmed or suspected COVID-19 for release from
        isolation.

I was released from isolation, but my symptoms came back again. What should I do? (4/8)
   •    Maine CDC is now aware that some people who have met the criteria to be released from isolation may develop
        symptoms again after release.
   •    If this happens to you, please isolate yourself again until 24 hours after your symptoms have resolved again,
        without the use of any fever-reducing or cough-suppressing medication.
   •    Maine CDC does not recommend additional testing. The testing methods available would not provide any useful
        information about your infection status.

How is COVID-19 different from the flu and common cold? (3/31)
   •    Some of the symptoms of COVID-19 are similar to influenza.
   •    Most coronavirus infections cause very similar types of respiratory illness. In some mild cases, COVID-19 may
        cause runny nose, cough, sore throat, and fever.
   •    Confirmed COVID-19 illness has ranged from mild symptoms to severe illness and death.

If one of my employees tested positive for COVID-19, do I need to report it to Maine CDC? (5/1)
   •    The places and people required to report any reportable disease, including COVID-19 are: health care providers,
        medical laboratories, health care facilities, administrators, health officers, and veterinarians.
   •    Any other employer or entity is not required to notify Maine CDC if an employee tests positive. The testing
        laboratory and health care provider are required to report this.

If one of my employees tested positive for COVID-19, should I notify all of the rest of my employees?
(5/1)
   •    A Maine CDC investigator will contact the employer of anyone who tests positive for COVID-19.
   •    All close contacts of the positive employee will need to be notified.
   •    An employer is not required to notify any other employees that are not close cotnacts, but may do so if they
        choose.
             o If an employer decides to notify other employees that a fellow employee tested positive, the employer
                 must keep the identity of the positive person private, following HIPAA laws.




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Daily Life and COVID-19
What guidance is available for dental offices during the COVID-19 response? (4/29)
   •    Guidance is available from US CDC.

I need help with rent assistance/evictions due to COVID-19. Who can I contact? (4/19)
   •    The COVID-19 Rent Relief Program issues a one-time payment of up to $500 in rental assistance directly to
        landlords for households that meet certain ability to pay requirements. The landlord agrees not to evict the
        tenant for nonpayment for the month the payment was issued.
            o Visit www.mainehousing.org/covidrent for more information and application materials.
   •    Please contact the Maine State Housing Authority for assistance at 207-626-4600.


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Should I be worried about getting evicted if I cannot pay my rent due to COVID-19? (4/19)
   •     On March 18, 2020 the Maine Supreme Judicial Court issued an order that permitted filing in eviction but
         prohibited the action until May 1st, unless the case presented a severe emergency. Only evictions authorized
         before March 18th are permitted to proceed.
   •     On April 16th, Governor Mills issued an executive order that prevented eviction orders authorized before March
         18th that have not been issued yet from being issued during the state of emergency.
   •     Enforcement actions can be taken against landlords attempting to unlawfully evict tenants, such as by turning
         off utilities.
   •     Governor Mills’ executive order also protects tenants who are considered “at will” (do not have a legal
         agreement with their landlord) and cannot make rent payments because of COVID-19, by requiring a landlord to
         provide at least 60 days’ notice to a tenant to leave, instead of 30 days. This also extends an eviction notice
         timeframe from 7 to 30 days.
   •     The Governor’s order does not prevent a tenant from being evicted if they pose a substantial risk to another
         person, immediate and severe risk to property, or a violation of health, sanitation, fire, housing, or safety laws.
   •     The Governors order does not relieve any tenant of their obligation to pay rent.

Where can I find information on unemployment insurance and unemployment benefits? (3/26)
   •     Visit the Maine Department of Labor COVID-19 Site for more information.

Where can I find information on services offered through the Maine Department of Health and Human
Services? (3/26)
   •     Programs include Temporary Assistance for Needy Families, Food Supplement Benefits, Health Care Assistance,
         Emergency Assistance, Child Care Subsidy, and General Assistance.
   •     Find information here.
   •     Apply for benefits online.

Where can I find information about paid sick leave or expanded family and medical leave during the
COVID-19 outbreak? (4/1)
    •    The Families First Coronavirus Response Act requires certain employers to provide their employees with paid
         sick leave or expanded family and medical leave for specified reasons related to COVID-19.
              o These provisions apply from April 1 through December 31, 2020.
    •    A summary of employee rights under the Families First Coronavirus Response Act can be found here.

I am a farmer/food producer. Where can I look for assistance during the COVID response? (4/1)
   •     Information is changing rapidly. Please visit the Maine Department of Agriculture, Conservation, and Forestry’s
         COVID-19 website under the Financial Resources for Farmers and Producers heading for the most up-to-date
         information on programs that are available.

I am a farmer/food producer. What do I need to know about the Maine COVID-19 response? (4/1)
    • Maine Department of Agriculture, Conservation, and Forestry (Maine DACF) has published interim
        guidance for those who work in agriculture, horticulture, animal care, and pesticide application.
    • Farmer’s markets, farm stands and community supported agriculture (CSA) are direct-to-consumer
        outlets that are considered essential services, along with other agricultural and grocery services.
            o Recommendations for social distancing have been issued by MDACF for these direct-to-
                consumer outlets.

Where can I find information on Local Food and Food Assistance? (4/1)
   •     Visit the Maine Department of Agriculture, Conservation, and Forestry’s website under the Find Local Food and
         Food Assistance for more information on food assistance programs.



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I have split custody of my child/children. Should they continue to go to their other parent’s house as
stipulated in a custody agreement? (4/1)
   •    It is considered to be essential that co-parents comply with custody agreements. If all parties abide by physical
        distancing guidelines, shared custody of children can continue.

Can pets and livestock be infected with the COVID-19 virus? (4/28)
   •    It is very rare, but possible for animals to become infected with the COVID-19 virus.
              o These animals are believed to be infected by people.
   •    The risk of animals spreading COVID-19 to people is considered low.
   •    This is why it is very important to protect your pets by limiting contact with them if you are sick with suspected
        or confirmed COVID-19. If possible, have another member of your household care for your animals while you
        are sick.
              o Your pets should be included in your family’s preparedness planning efforts. This includes a 2-week
                  supply of pet food and pet medicines available.
                      ▪ Visit U.S. CDC’s Pet Disaster Preparedness Kit site for more information.
   •    Maine CDC and Department of Agriculture, Conservation, and Forestry currently do not recommend testing
        animals that don’t have symptoms for COVID-19.
              o Any testing of animals will be limited and only on recommendation of the state veterinarian, state
                  epidemiologist, and National Veterinary Services Laboratory.
   •    Guidance is available from the American Veterinary Medical Association for the intake of companion animals
        from households where humans with COVID-19 are present.
              o It is recommended that a pet exposed to a person with suspected or confirmed COVID-19 stay in that
                  household, rather than being transferred to another household or facility for care.
   •    US CDC issued infection prevention and control guidance for Veterinary Clinics here.

Can you get COVID-19 from mail packages that arrive from affected areas? (3/31)
   •    No cases of COVID-19 have been reported from packages or imported goods.
   •    Coronaviruses may persist on surfaces for a few hours or up to several days, depending on the surface type and
        environmental conditions.
   •    The risk of catching COVID-19 from a package that has been moved, travelled, and exposed to different
        conditions and temperatures is believed to be low.
   •    The likelihood of a person with COVID-19 contaminating commercial goods is believed to be low.
   •    Wash your hands for 20 seconds with soap and water after bringing in packages, or after trips to the grocery
        store or other places where you may have come into contact with infected surfaces.

How should I cope with stress during a COVID-19 outbreak in my community? (4/22)
   •    An outbreak of COVID-19 in your community may be very stressful.
   •    Visit US CDC’s Stress and Coping During COVID-19 site for ways you can support yourself during an outbreak.
   •    A Frontline Warm Line is available for first responders, health care workers, those in law enforcement, and
        anyone else who is involved in the direct response to COVID-19.
             o Call 207-221-8196 or 866-367-4440 to connect with someone for support services.
             o Volunteers staffing the Warm Line include licensed psychiatrists, psychologists, therapists, social
                 workers, and nurse practitioners.

Am I at risk if I go to a funeral or visitation service for someone who died of COVID-19? (3/12)
   •    There is currently no known risk associated with being in the same room at a funeral or visitation service with
        the body of someone who died of COVID-19.

Am I at risk if I touch someone who died of COVID-19 after they have passed away? (3/12)
   •    Since we are still learning how the virus spreads, people should consider not touching the body of someone who
        has died of COVID-19.
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   •     Activities such as kissing, washing, and shrouding should be avoided before, during, and after the body has been
         prepared.
             o If these actions are important religious or cultural practices, wear appropriate personal protection
                  equipment (PPE) while working with the deceased. Funeral homes can help with this guidance.

What do funeral home workers need to know about handling people who have died of COVID-19? (3/12)
   •     Funeral home workers should follow their routine infection prevention and control precautions. Embalming can
         be conducted following standard precautions. Follow local ordinances for burial or cremation of remains
         involved in an infectious disease outbreak.

My family member died from COVID-19 while overseas. What should I do? (3/12)
   •     If you are overseas, contact the nearest US embassy or consulate.
   •     If you are in a different country from the deceased person, call the Department of State’s Office of Overseas
         Citizens Services, open Monday through Friday, 8 AM to 5 PM EST at 888-407-4747 (toll-free) or 202-501-4444.

Can the COVID-19 virus be passed through water? Should wastewater treatment workers be
worried?(3/15)
   •     No. Conventional water treatment methods should remove or inactivate the virus that causes COVID-19.
   •     Visit US CDC’s Water Transmission and COVID-19 page for more information.

Where can I find resources for children during the COVID-19 response? (3/26)
    •    Visit the Maine Department of Education COVID-19 resources page.

What is happening with federal and state income tax deadlines? (3/31)
  • Both the federal and state income tax payment deadline have been extended to July 15, 2020.
          o This includes any final and estimated Maine income tax payments due by April 15, 2020. Any
             failure-to-pay penalties and interest will be abated for the period of April 16, 2020 through July
             15, 2020. More information can be found here.

I work for a community or religious organization. How can we respond to COVID-19? (3/12)
   •     Guidance for responding to COVID-19 before, during, and after an outbreak occurs, as well as recommendations
         for cleaning facilities can be found on US CDC’s website.

I work for an organization that serves homeless populations. How can we respond to COVID-19? (3/12)
   •     Guidance for responding to COVID-19 before, during, and after an outbreak occurs, as well as recommendations
         for cleaning facilities can be found on US CDC’s website.



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Travel and COVID-19
Should I be concerned about travel within the US?
   •     Governor Mills recommends that people stay in place if possible, rather than traveling.
   •     Traveling increases your chances of getting COVID-19.
   •     If you must travel, practice general prevention measures.
   •     Consider these questions before travel within the US:
              o Is COVID-19 spreading where you’re going?
              o Will you or your travel companions be in close contact with others during your trip?
              o Are you or your travel companions at higher risk of severe illness if you do get COVID-19?
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            o   Do you have a plan for taking time off from work or school, in case you get exposed to, or are sick with,
                COVID-19?
            o Do you live with someone who is older or has a severe chronic health condition?
            o Is COVID-19 spreading where you live?
   •    The situation is rapidly evolving. For the most up-to-date travel information, visit U.S. CDC’s travel health notices
        page.

Am I at risk of getting COVID-19 on an airplane?
   •    Most viruses and other germs do not spread easily on airplanes because of how air circulates and is filtered.
   •    Although risk of infection on an airplane is low, travelers should practice general respiratory prevention
        measures.

How are travelers being screened when they enter the U.S.?
   •    Visit US CDC’s Travel page for the latest updates on screening and prohibitions for entry to the US.

What are quarantine recommendations for people returning from domestic travel (within the United
States), including healthcare workers? (4/29)
   •    It is mandated that all out-of-state travelers coming into Maine and Maine residents returning to Maine
        quarantine for 14 days.
   •    To self-quarantine follow these precautions:
              o Stay at home for 14 days.
              o Monitor for fever (take temperature two times per day), cough, or trouble breathing.
              o Practice social distancing. Stay home (do not go to work or school), do not take public transportation or
                 ride-shares, avoid crowded places, keep distance from others (about 6 feet).
              o You cannot go to public places including grocery stores or other essential personal reasons, except to
                 seek emergency medical care. Plan to bring food for 14 days with you or arrange to have it delivered.
   •    Healthcare workers are exempt from the quarantine, only to go to work if they are asymptomatic. Healthcare
        workers still need to follow the quarantine order when not at work. (5/6)
   •    If someone coming in from out-of-state is not staying for the full 14 days, then they still need to follow the
        quarantine order while in Maine. (5/6)

I live in Maine but must cross the state border for work. Do I have to quarantine? (4/1)

   •    There is no order to quarantine for people who make short trips back and forth across the border for work.
            o Travel should be limited to essential trips.
   •    This is not the same as travel to visit Maine or return from a long-term winter stay in another state, which does
        require a quarantine upon arrival.

I have to go to a medical appointment out of state. Do I have to quarantine upon return? (5/8)
   •    If you go directly to the medical appointment and back to Maine, you are not required to quarantine under the
        Executive Order.
   •    If you go anywhere else while out of state you will need to quarantine upon your return to Maine for 14 days.



Should Maine be banning out-of-state travelers from coming into the state? (4/29)
   •    It is mandated that all out-of-state travelers coming into Maine, as well as Maine residents returning to Maine,
        complete a 14-day quarantine upon arrival.
   •    This means:
              o You need to arrive with enough food for 14 days or arrange to have food delivered to you. You cannot
                 go out to grocery stores.

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            o Stay at home. You cannot go out to public places.
            o Avoid contact with others, especially those who are at high risk of severe COVID-19 illness.
            o Keep a distance of at least 6 feet from other people.
            o If you are sick, wear a mask that covers your nose and mouth.
  •    Visitors should not travel to Maine if they are displaying symptoms of COVID-19.
            o Travelers should not travel to Maine if they are coming from cities or regions identified as COVID-19 hot
                spots.
            o Individuals who are entering the state to provide essential services are exempt.
  •    There is little data to indicate that asymptomatic residents of areas with high case counts are more or less likely
       to infect others with the virus than asymptomatic residents of areas with low case counts.
            o Stay home.
            o Limit the number of visitors in your home.
            o Avoid contact with others, especially those who are at high risk of severe COVID-19 illness.
            o Keep a distance of at least 6 feet from other people.
            o If you are sick, wear a mask that covers your nose and mouth.

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